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                     United States District Court
                       District of Massachusetts

________________________________
                                 )
UNITED STATES OF AMERICA,        )
                                 )
          v.                     )
                                 )        Criminal No.
ARTHUR GIANELLI, MARY ANN        )        05-10003-NMG
GIANELLI, FRANK IACOBONI, PHILIP )
PUOPOLO, DENNIS ALBERTELLI,      )
RANDY ALBERTELLI, GISELE         )
ALBERTELLI, SALVATORE RAMASCI,   )
STEPHEN RUSSO, RAFIA FEGHI, and )
JOSEPH YERARDI,                  )
          Defendants.            )
________________________________ )

                          MEMORANDUM & ORDER

GORTON, J.

     In this criminal case, involving 11 defendants, ten (all

except Stephen Russo) have filed a joint motion to suppress and

two (Arthur Gianelli and Philip Puopolo) have filed individual

motions to suppress.

I.   Background

     On September 13, 2006, a Second Superseding Indictment was

returned charging 13 defendants with 520 counts, all related to

racketeering.     Ten of those defendants have filed a joint motion

to suppress the “fruits” of a wiretap.       Two defendants have filed

motions to suppress the “fruits” of searches conducted pursuant

to warrants.    Still pending but not addressed in this memorandum

and order are three motions to sever and four motions to dismiss.


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     According to the government, the defendants were members of

a criminal organization (“the Gianelli Group”) which accrued

revenue through illegal gambling activities, loansharking,

extortion and money laundering and committed crimes of violence,

including arson.   Arthur Gianelli (“Gianelli”) was the purported

leader of the Gianelli Group.     Joseph Yerardi, Jr. (“Yerardi”),

who was in jail for racketeering for all but two months of the

ten years between 1995 and 2005, maintained his contact with the

Gianelli Group and, in fact, the government alleges that Gianelli

ran Yerardi’s gambling business and forwarded the proceeds to

Yerardi and Yerardi’s wife, who is also a defendant.

     The government alleges that defendant Dennis Albertelli

(“Albertelli”) managed the sports betting business and helped

with the electronic gaming machine business of Gianelli, acted as

an agent for the sports betting and operated an illegal gambling

business involving football cards.      Defendant Philip Puopolo

(“Puopolo”) is alleged to have engaged in illegal bookmaking and

loansharking with other members of the Gianelli Group.         He also

purportedly operated a sports betting office, acted as an agent

for Gianelli, illegally operated electronic gaming machines at

the Revere Businessmen’s Association (“RBA”) and attempted to

persuade witnesses to provide false testimony.        Stephen Russo

(“Russo”) allegedly managed the sports betting office operated by

Puopolo and participated in illegal bookmaking.        Salvatore


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Ramasci (“Ramasci”) allegedly acted as bookkeeper for the

Gianelli Group’s illegal sports betting business, coordinated the

collection and payout of money to and from the gambling business

and participated in the distribution of proceeds of the illegal

gambling business.

        The government also alleges that the Gianelli Group

associated itself with certain members of organized crime

including members of the New England Family of La Cosa Nostra

(“the Family”).      The leaders of the Gianelli Group purportedly

made payments to certain members of the Family for the right to

operate their criminal businesses.

      The original indictment in this case was filed on January 5,

2005.    A superseding indictment was filed three months later and

a second superseding indictment was filed September 13, 2006.

Three of the original 17 defendants have pled guilty, one is a

defunct corporation and two are fugitives.          The motion to

suppress the fruits of the wiretap was filed March 21, 2008 and

on that same day, Puopolo filed a motion to suppress the fruits

of the search of his residence and the RBA.           Five days later,

Gianelli filed a motion to suppress the fruits of a search

warrant.     All three motions are opposed.



II.   Joint Motion to Suppress Fruits of Wiretap Warrant

      The Defendants argue that the wiretap warrants were not


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valid and therefore any inculpatory evidence resulting from those

warrants must be suppressed.

     A.     General Overview of Wiretap Law

     The issuing of wiretap warrants is regulated under both

state and federal law.    Title III of the Omnibus Crime Control

and Safe Streets Act, 18 U.S.C. § 2510 et seq. (“Title III”),

outlines the circumstances under which electronic surveillance

may occur provided there is judicial approval.        The corresponding

Massachusetts state laws with respect to wiretaps are codified at

M.G.L. c. 272, § 99 (“Section 99").      Although certain of the

Title III provisions incorporate state law, see 18 U.S.C. §

2516(2), federal law controls the admissibility of the fruits of

state electronic surveillance in federal court.        United States v.

Sutherland, 929 F.2d 765, 769-70 (1st Cir. 1991).

     Intercepted communications or evidence derived therefrom may

be admitted into evidence if the interception occurred in

accordance with the provisions of Title III.        18 U.S.C. §

2517(3).    Certain kinds of errors in procuring a wiretap warrant

do not result in suppression.     United States v. Chavez, 416 U.S.

562, 575 (1974).    Suppression is only required when there is a

failure to satisfy a statutory requirement that “directly and

substantially implement the congressional intention” to limit

wiretaps.    Id.




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     B.   Relevant Factual Background

          1.    The Investigation

          The Special Service Section of the Massachusetts State

Police Department led the investigation that resulted in the

pending indictment.    Troopers Nunzio Orlando (“Orlando”) and

Pasquale Russolillo (“Russolillo”) were the lead investigators.

     On October 31, 2003, Essex County Assistant District

Attorneys John Dawley, Brian O’Keefe and Alexander Cain (“the

Essex ADAs”) applied for and obtained a warrant (“the October 31

warrant”) authorizing them to intercept wire communications over

three cellular telephones, two belonging to Albertelli and one

belonging to Ramasci.    Essex County District Attorney Jonathan W.

Blodgett (“DA Blodgett”) wrote a letter to the Essex ADAs and the

judge specifically designating and empowering the ADAs to apply

for the warrants.   In support of the application, Orlando

submitted an affidavit in which he stated that there was probable

cause to believe that Gianelli, Albertelli, Ramasci and others

unknown are part of an organized group engaged in a conspiracy to

commit violations of the Massachusetts gaming statute.         The

Middlesex County District Attorney at the time, Martha Coakley

(“DA Coakley”), also reviewed and authorized several Middlesex

ADAs to apply for the wiretap warrant.

     Relying upon communications intercepted during the execution

of the first wiretap between November 13, 2003 and February 25,


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2004, the Essex ADAs sought and obtained 10 renewal wiretap

warrants for the Albertelli phones as well as additional cellular

telephones.    One of the renewal warrant applications stated that

the warrant was being obtained to investigate a violation of

M.G.L. c. 271, § 17A, which prohibits the registering and placing

of bets over the telephone.     Between November 18, 2004 and

February 28, 2005, several ADAs in Middlesex County applied for

and obtained 15 wiretap warrants seeking to intercept

communications involving, among others, Puopolo and Russo.

          2.     Allegations with Respect to the October 31, 2003
                 Warrant Application

     Based upon information from two informants, “CI-1" and “CI-

2", and police surveillance, in the October 31, 2003 application

for a wiretap in Essex County, Orlando alleged that:

     a)   in 1991, Gianelli was intercepted in a wiretap
          investigation which proved that he was a bookmaker and
          involved in an elaborate illegal video poker machine
          business;

     b)   in 2003, Gianelli had poker machines used for illegal
          gaming purposes in a restaurant in Revere and inside
          the East Side Athletic Club in Malden;

     c)   in July, 2001, CI-1 reported that Gianelli ran a high-
          stakes card game once a month at the RBA;

     d)   Gianelli then ran a large gaming organization, still
          associated with Yerardi and utilized his former agents
          and bettors;

     e)   Gianelli, Albertelli and Ramasci used their cellular
          telephones to conduct gaming activities;

     f)   Puopolo and Russo were agents of Gianelli;


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     g)   Gianelli gave out to bettors a “1-800" telephone number
          to an off-shore gaming office where customers had to
          retrieve betting lines and submit their wagers;

     h)   although Gianelli moved the location of his central
          gaming office offshore, bettors still met with Gianelli
          to resolve gaming-related issues and with Ramasci to
          pay gaming debts and to collect winnings; and

     i)   payments, collections, resolution of debts and other
          gambling related transactions were all handled by
          Gianelli and his staff including Ramasci and
          Albertelli.

     C.   Analysis

     In their motion to suppress the fruits of the wiretap

warrant, the Defendants argue that 1) the October 31 Warrant was

issued in violation of the necessity requirement under federal

law, 2) many of the wiretap applications were deficient on their

face, 3) the October 31 Warrant was issued without probable

cause, 4) the December 31, 2003 Warrant was issued for an offense

not designated in Section 99 and 5) Section 99 does not give

courts the authority to issue a wiretap warrant for cellular

phones.

          1.    The Necessity Requirement

                a.   Legal Standard

     Wiretap warrants are not to be “routinely employed as the

initial step in criminal investigation”.       United States v.

Giordano, 416 U.S. 505, 515 (1974).      As such, the federal wiretap

statute requires that the application for a wiretap warrant

contain


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     a full and complete statement as to whether or not
     other investigative procedures have been tried and
     failed or why they reasonably appear to be unlikely to
     succeed if tried or to be too dangerous.

18 U.S.C. § 2518(1)(c).    Before a judge may approve a wiretap

order, he must be satisfied that the applicant has made such a

showing (“the necessity requirement”).       18 U.S.C. § 2518(3)(c).

The application must demonstrate that the government made “a

reasonable, good faith effort to run the gamut of normal

investigative procedures” before applying for a wiretap, United

States v. Santana, 342 F.3d 60, 65 (1st Cir. 2003), and the

supporting affidavit must indicate a “reasonable likelihood that

alternative techniques would fail to expose the crime”.          United

States v. Ashley, 876 F.2d 1069, 1073 (1st Cir. 1989).         In

reviewing a wiretap order of another judge, this Court does not

make a de novo determination of sufficiency.        Id. at 1074.

Instead, this Court examines the face of the affidavit and

decides whether the facts set forth in the application were

“minimally adequate to support the determination that was made”.

United States v. Villarman-Oviedo, 325 F.3d 1, 9 (1st Cir. 2003).

                b.   Analysis

     The Defendants argue that the first Essex wiretap failed to

meet the necessity requirement because 1) Orlando’s description

of the investigative goals is misleading, 2) necessity cannot be

based on generalized allegations, 3) the particularized

allegations were boilerplate, 4) normal investigative techniques

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had been successful and still were available.

                     i.    Description of the Investigative Goals

     The Defendants argue that Orlando’s description of the

investigation goals were lofty and far-reaching.        Those goals

included 1) identifying and bringing about the successful

prosecution of persons at all levels of the organization and

conspiracy, 2) tracing the proceeds of the bookmaking operation

so as to seize and seek forfeiture of those proceeds, 3)

infiltrating the Gianelli Group, 4) discovering and exploiting

Gianelli’s associations with members of the La Cosa Nostra and 5)

dismantling his enterprise.     The Defendants claim that Orlando

exaggerated the investigation goals in order to declare that

measures short of wiretapping would not allow for completion of

those goals.   They also contend that information in the affidavit

made it clear that the wiretap would not provide information

about others involved in the Gianelli group.

     As the government points out, the police may “cast a wide

net” in its investigative goals.      United States v. Martinez, 452

F.3d 1, 6 (1st Cir. 2006) (upholding a wiretap where the

investigative objectives were broadly defined).        The First

Circuit Court of Appeals has upheld wiretaps where the goals of

the investigation were to uncover the “full scope” of the crimes

under investigation and the people involved and to obtain

information about the “totality of offenses” in which the targets


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were involved.   Villarman-Oviedo, 325 F.3d at 10.       The goals

identified by Orlando closely match those goals the First Circuit

has approved.

     Orlando also made clear in his affidavit that, although

Gianelli was using an offshore bookmaking office, he continued to

employ staff and to interact and communicate with his agents and

bettors in Massachusetts.    Results from traditional investigative

techniques revealed that illegal gaming activities were occurring

in Massachusetts.   Consequently, the State Police had reason to

try to uncover the entirety of the conspiracy with respect to the

people and activities involved.     The police did not improperly

exaggerate the goals of the investigation and the motion to

suppress will not be allowed on that ground.

                     ii.    Boilerplate and General Accusations

     The Defendants next contend that Orlando improperly asserts

necessity through the use of boilerplate allegations.         They argue

that Orlando does nothing more than set forth generic and

standardized allegations of why normal measures are not

productive or feasible in a gambling investigation instead of

listing facts specific to the current case.       Some of the

generalizations, such as the ones relating to the use of pay

telephones, are irrelevant to this case.       The Defendants suggest

that explanations of necessity that discuss typical problems with

a certain kind of case instead of reference to specific facts


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about the defendant are insufficient to establish necessity.

     There is no requirement, however, that the government

establish that the investigation at issue is different from an

ordinary investigation for a crime of that kind.        United States

v. Martinez, 452 F.3d 1, 5-6 (1st Cir. 2006).       The government

must establish necessity with the particulars of a given

investigation but “[t]he ordinariness of the investigation does

not preclude a finding of necessity for the use of wiretaps to

further the investigation.”    Id.   Orlando demonstrated necessity

by referencing common difficulties in gaming investigations

because those difficulties also apply in this case (as discussed

in more detail below).    Consequently, the motion to suppress will

not be allowed on that ground.

                     iii. The Particularized Allegations

     The Defendants further assert that Orlando’s affidavit

contains few particularized explanations of why normal

investigative techniques would not be sufficient in this case.

The few particularized allegations that do exist are mirror (or

near-mirror) images of allegations contained in affidavits filed

by Orlando and Russolillo in other wiretap cases.        The Defendants

include a chart in their brief comparing language from various

affidavits submitted by the officers in other cases.        The charts

reveal that the officers have used remarkably similar language in

their prior affidavits.


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     As the government notes, the police need not draft entirely

new language for every wiretap affidavit.       As explained above,

wiretaps may be used in “ordinary” investigations.        Because

investigations of gambling conspiracies may encounter the same

difficulties when using normal investigative techniques, Orlando

and Russolillo may have encountered the same reasons for

necessity in more than one of their cases.       Because the

circumstances they identified as creating necessity were

applicable to this case (as explained in more detail below), the

fact that Orlando or Russolillo may have encountered similar

necessity in other cases is not cause for suppression.         See

Martinez, 452 F.3d at 5-6 (finding that an investigation need not

be unique in order to establish necessity for a wiretap).

                     iv.   Success and Availability of Normal
                           Investigative Techniques

     The Defendants finally argue that normal investigative

techniques were yielding results and therefore wiretapping was

premature.   They contend that 1) Orlando’s discounting of

physical surveillance is unsubstantiated and that those

techniques had been successful, 2) that the informants had

significant dealings with Gianelli, Albertelli and Ramasci and

that the informants provided significant information and 3)

telephone analysis produced relevant information.        The Defendants

suggest that such success with normal investigative techniques

means that the government cannot show that “it has encountered

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difficulties in penetrating a criminal enterprise or in gathering

evidence”.   United States v. Abou-Saada, 785 F.2d 1, 11 (1st Cir.

1986).   Moreover, the Defendants aver that the police failed to

use several available normal investigative techniques including

1) using CI-1 and CI-2 to gather more information, 2) utilizing

controlled calls, 3) cultivating additional informants, 4)

obtaining telephone records and 5) conducting an investigation

into the defendants’ finances.

     The affidavits that were submitted with the October 31

application demonstrated that the police had made a good faith

effort to use the other techniques and that there was a

reasonable likelihood that alternative techniques would fail.

Although the State Police had gained some information from

traditional techniques, Orlando made clear in the affidavit that

there was still much to be done that had not and could not be

done by conventional methods.     See United States v. Cao, 471 F.3d

1, 3 (1st Cir. 2006)(holding that partial success using

investigative techniques does not disprove necessity).         The

affidavit explains in detail (encompassing six pages) how and why

other normal investigative techniques were either exhausted or

not feasible.

     The State Police had acquired evidence sufficient to

establish probable cause, but it had not obtained, nor could it,

proof beyond a reasonable doubt for the named subjects using


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traditional investigative techniques.      There was also no

reasonable prospect that traditional investigative methods would

expose the full scope and membership of the conspiracy.         Such

detail and reasoning is sufficient to meet the necessity

requirement.   See Martinez, 452 F.3d at 5; see also United States

v. Rivera-Rosario, 300 F.3d 1, 19 (1st Cir. 2002).

          2.    Alleged Deficiencies in the Wiretap Applications

     The Defendants next argue that the Essex and Middlesex

County applications suffered from a number of deficiencies.            They

contend that 1) the warrant applications fail to demonstrate the

requisite review and authorization by the District Attorney, 2)

the December 23, 2003 Essex County application relies upon a non-

existent designation letter, 3) the December 2, 2004 Monitoring

Instruction Memorandum authorized interception of an unknown

telephone number and 4) the Essex and Middlesex ADAs unilaterally

expanded the court orders to authorize law enforcement officials

to intercept and monitor all communications over targeted phones

improperly.

                a.   District Attorney Review and Authorization

                     i.    Legal Standard

     Under Title III, only the principal prosecuting attorney of

the state or the “principal prosecuting attorney of any political

subdivision thereof”, if the state wiretap statute authorizes him

to make applications, may apply for a state order authorizing the


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interception of wire communications.      18 U.S.C. § 2516(2).     The

Massachusetts wiretap statute authorizes specially designated

assistant district attorneys to submit wiretap applications.

M.G.L. c. 272, § 99(F)(1).    In Commonwealth v. Vitello, 367 Mass.

224 (1975), in order to ensure that Massachusetts law conformed

with federal law, the SJC interpreted the special designation

provision of Section 99

     to mean that an assistant district attorney may not
     apply at will for wiretap orders but must bring the
     matter for examination before his senior officer, the
     district attorney.

Id. at 256.   The district attorney must review and authorize each

application in writing.    Id.   Although failure to secure approval

from an authorized authority is grounds for suppression, United

States v. Giordano, 416 U.S. 505, 528 (1974), “[t]he absence of a

compelling signature on a critical document can be remedied by

proof of actual authority”.      See United States v. Smith, 726 F.2d

852, 859 (1st Cir. 1984) (en banc).

                     ii.   The Initial Applications

     The Defendants argue that none of the relevant Essex County

documents, i.e., DA Blodgett’s October 29, 2003 designation

letter, his October 29, 2003 letter to the warrant-issuing judge

and all of the applications, are sufficient to demonstrate

compliance with the requirement that the district attorney

carefully review the application before authorizing it and

submitting it to court.    They contend that the relevant documents

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do not confirm that DA Blodgett personally reviewed the

application.   Although he designated the Essex ADAs to make

applications, Blodgett states that the applications will be

reviewed by “me or my designee before being presented to you”.

Blodgett also did not sign the applications, a practice that

while not mandatory has been recommended by the SJC.        Vitello,

367 Mass. at 232.

     Similarly, the Defendants assert that because former DA

Coakley did not co-sign the first Middlesex County application,

it was not appropriately authorized.      Because of those alleged

deficiencies, the Defendants contend the applications were

insufficient on their face or, in the very least, the Court

should hold an evidentiary hearing to determine whether the

applications were properly authorized, citing United States v.

Smith, 726 F.2d 852, 860 (1st Cir. 1984)(remanding the issue of

authorization to the District Court for an evidentiary hearing

because it had not previously made a particularized inquiry into

that issue).

     The letters submitted by DAs Blodgett and Coakley are

sufficient to satisfy the requirements of the statute and

establish that the appropriate official authorized the original

wiretap warrant application.     Coakley explicitly states in her

letter to the warrant-issuing judge that she had personally

reviewed and authorized the application.       With respect to the


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Essex County applications, in a case with a very similar

designation letter to DA Blodgett’s letter, the SJC found proper

authorization because, as in this case, the letter was dated near

to the day of filing, the letter and application were bound

together and the defendant offered no evidence that the

application had not been properly authorized.       See Commonwealth

v. D’Amour, 428 Mass. 725, 734-35 (1999).       DA Blodgett’s letter

did not include as detailed information about the crimes as the

letter did in D’Amour but it specifically named the three

individuals being investigated.     Although it is unfortunate that

DA Blodgett has not adopted the SJC’s suggestion of co-signing

the application, as the First Circuit pointed out in Smith, such

an oversight is not fatal to the wiretap.       726 F.2d at 859.

     The Defendants rely heavily on Smith for their contention

that the Court should hold an evidentiary hearing to determine

whether DA Blodgett actually authorized the original warrant

application.    In that case, however, in which the First Circuit

remanded for an evidentiary hearing, the Court of Appeals

specifically found that the district court “did not make a

particularistic inquiry” into the issue of authorization.         Smith,

726 F.2d at 860.   There also was considerable confusion about

what documents had been produced in the district court, which is

not our case.   This Court has a copy of DA Blodgett’s letter and

affidavit and has made a particularized inquiry into whether the


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warrant was authorized.    That inquiry leads to the conclusion

that the written authorizations were sufficient and that a

hearing is unnecessary.

                     iii. Renewals and Amendments

     The Defendants next contend that written designation letters

are required for amendment and renewal applications in order to

comport with federal law.    With respect to “amendments” (i.e.,

successive applications that seek to intercept communications

occurring over telephones or between individuals not identified

in an original designation letter), DA Coakley in Middlesex

County submitted a new designation letter with each application

requesting amendment, but the Essex County applications seeking

amendment did not include new designation letters, referring

instead to the October 30 designation letter.       Such an omission

is not fatal, however, because actual authorization by the

district attorney for amendment applications is not required.

See United States v. DeJesus, 752 F.2d 640, 643 (1st Cir.

1985)(affirming lower court decision holding that Section 99 does

not require actual authorization in amendment applications).

     With respect to renewal applications, in both Essex and

Middlesex Counties they referred to earlier designation letters

rather than including new designation letters.        Under

Massachusetts law, no written authorization is required for

renewal applications.   See D’Amour, 428 Mass. at 735.        The


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Defendants urge this Court to hold, however, that written

authorization is required in order for Massachusetts law to

comport with federal law.    Although the Defendants argue that in

D’Amour the SJC relied on the assumption that a renewal is not an

“application” in reaching the conclusion that renewal

applications do not require written authorization, the Court

concluded simply that “neither the wiretap statute nor Vitello

requires written authorization for renewals”.       Id.   As the First

Circuit did in DeJesus with respect to amendment applications,

this Court will, with respect to renewal applications,

     decline to attempt to provide [the Court’s] own gloss
     covering this aspect of Massachusetts wiretap
     law...[and] not infer a requirement of district
     attorney authorization from this otherwise silent
     statute.

752 F.2d at 643.    Because authorization is not required for

renewal or amendment applications, the Court will not suppress

evidence for any alleged deficiency in such authorization.

               b.     The December 28, 2003 Designation Letter

     The December 23, 2003 application in Essex County cites a

designation letter dated December 28, 2003 to show that the

application was authorized by the district attorney.

No such letter exists.    The Defendants argue that failure to

identify the designation authority for the December 23

application properly requires suppression of all evidence derived

from that application and the resulting order.        As the government


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points out, all of the earlier and later Essex County wiretap

applications referred to the October 29, 2003 authorization

letter and that it is therefore clear that reference to the

December 28, 2003 letter was simply a typographical error.         The

existence of an obvious typographical error is not a basis for

suppressing the fruits of the wiretap.      See United States v.

Chavez, 416 U.S. 562, 569 (1974)(holding suppression to be

inappropriate when the application was properly authorized but

the authorizing authority was misidentified).

                c.   The Telephone Number in the December 2, 2004
                     Application

     The Monitoring Instruction Memorandum dated December 2,

2004, a memorandum issued to law enforcement officers that

accompanied the warrant order, authorized law enforcement

officials to intercept and monitor communications occurring over

the telephone number (617) 331-1167.      That number was not the

subject of the accompanying application or court order provided

to the Defendants.   Consequently, the Defendants move the Court

to issue an order requiring the government to disclose whether

communications over that telephone number were intercepted and

whose communications were intercepted pursuant to the

instructions in the memorandum.

     The telephone line at that number was apparently subscribed

to by Albert Sacramone who died in 2005 and was never a defendant

in this case.   None of the defendants in this case were

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intercepted over the line.    The government has now supplied the

Defendants with the separate order and application for the

mystery phone number rendering this argument moot.

                d.   The Extent of the Monitoring

     The Middlesex and Essex ADAs issued a Monitoring Instruction

Memoranda to the monitoring teams of the relevant law enforcement

agencies after they secured the wiretap warrants.        Those

memoranda authorized the interception and monitoring of all

conversations occurring over the identified telephone numbers

even if none of the individuals identified in the order were a

party to the intercepted conversations.      The Defendants contend

that because the orders in this case limited interception to

“communications of [the targets identified in the application]

and their associates, agents and co-conspirators” rather than

anyone using the telephone, the issuing court intended to limit

interception to those conversations that included one of the

targets.   The courts issuing the orders further instructed the

applicants that if a person other than one of the targets engaged

in a conversation related to the designated offenses and was

identified, such conversation should be reported to the judge in

a Status Report in order that the judge may determine whether a

sufficient showing of probable cause had been made to amend the

order to include other persons.

     In United States v. Kahn, 415 U.S. 143 (1974), the Supreme


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Court was confronted with a wiretap order that authorized the

government to “intercept wire communications of Irving Kahn and

others as yet unknown”.    It held that, under the warrant, the

government could intercept calls in which Irving Kahn was not a

party.   Id. at 156-57.   Although the warrant in this case

included instructions about reporting third party conversations

to the Judge, an instruction apparently not included in the Kahn

warrant, this Court finds the holding in Kahn controlling,

especially in light of the fact that the warrant-issuing judge,

after receiving the warrant monitoring instructions, continued to

approve the renewals.     The evidence will not be suppressed based

on this argument.

           3.     The December 31, 2003 Warrant

     The Defendants next argue that the December 31, 2003 warrant

was issued for an offense not designated in Section 99.         On

December 31, 2003, the Essex ADAs applied for and obtained a

renewal warrant alleging that they had probable cause to believe

that the targets of the investigation were violating M.G.L. c.

271, § 17A.     Section 99 does not authorize warrants for alleged

violations of § 17A.    M.G.L. c. 272, § 99(B)(7).      Moreover,

violations of § 17A are not punishable by imprisonment for more

than a year and therefore no wiretap may be issued for such a

violation under Title III.

     The designation of § 17A appears to have been a


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typographical error.      The December 31, 2003 application was

captioned as a renewal application and all prior and subsequent

applications referred to § 17, which is among the crimes for

which Section 99 authorizes wiretaps.         Moreover, § 17A proscribes

the use of a telephone for gambling purposes whereas § 17

proscribes the retention of a place for registering bets.            The

application specifically states that there is probable cause with

respect to the registering of bets.         The application also

incorporates Orlando’s affidavit which states at least four times

that the crime under investigation was a violation of § 17, not §

17A.    Such a typographical error in the identification of the

specific statute is not grounds to suppress the wiretap evidence.

Chavez, 416 U.S. at 569 (holding suppression to be inappropriate

when the application was properly authorized but the authorizing

authority was misidentified).

            4.    Probable Cause for the First Essex County Wiretap

                  a.    Legal Standard

       Title III requires the issuing judge to find that the

applicant has established probable cause to believe that an

individual has committed, is committing or is about to commit a

designated offense.      18 U.S.C. § 2518(3)(a).      The judge must also

find probable cause that communications concerning the crime will

be obtained through such interception.         18 U.S.C. § 2518(3)(b).

Probable cause exists when there is a fair probability that a


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crime is being committed.    United States v. Moore, 790 F.2d 13,

15 (1st Cir. 1986).    A prior judicial determination of probable

cause is entitled to great deference by the reviewing court.

Illinois v. Gates, 462 U.S. 213, 236 (1983).

                 b.   Analysis

     The Defendants argue that when Orlando first applied for the

Essex County wiretap warrant he did not have probable cause to

believe that the targets had violated M.G.L. c. 271, § 17 because

1) there was not sufficient evidence that the targets were

registering bets or had apparatus in Massachusetts and 2) the

evidence from the informants was uncorroborated and unreliable.

                      i.    Location of the Violations

     The Defendants argue that Orlando’s affidavit failed to set

forth facts adequate to support probable cause for a violation of

M.G.L. c. 271, § 17 because it failed to establish “a place” in

Massachusetts where bets were registered or where apparatus was

kept.   The affidavit stated that Gianelli had moved all bet

registering off-shore and therefore no such registration was

occurring in Massachusetts.

     The application of § 17 is not, however, “limited to

bookmaking in the traditional sense” and is, instead, “broad and

encompassing”.   United States v. Marder, 48 F.3d 564, 567 (1st

Cir. 1995).   Moreover, “[t]he possession of any recorded

memorandum intended to be a minute of a bet is sufficient to


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demonstrate a violation of...G.L. c. 271, § 17....” Commonwealth

v. Boyle, 346 Mass. 1, 4 (1963).     Although Orlando’s affidavit

stated that bet registering had been moved offshore, it also

contained several allegations regarding the continuation of the

payment and collection of bets by Gianelli, Albertelli and

Ramasci in Massachusetts.    That information established at least

a fair probability that those three individuals had in their

possession records of the amounts and nature of bets.         Pursuant

to the holding in Boyle and in light of the broad interpretation

given to § 17, the fact that there was a fair probability that

the Defendants kept betting records in Massachusetts, provided

the applicants with probable cause to believe that the three co-

defendants were violating M.G.L. c. 271, § 17.        See Boyle, 346

Mass. at 4.

                     ii.    Informant Reliability

     The Defendants argue that the informants lacked reliability

and credibility because 1) the affidavit fails to disclose

whether the informants had criminal records or were receiving

rewards or incentives, 2) the State police did not corroborate

the informants’ claims by verifying their phone numbers and 3)

Orlando did not confirm that the informants had actually

contacted any of the target phones.

     Despite the omissions the Defendants identified, Orlando

provided a plethora of information from which the warrant-issuing


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court was able to determine the informants’ reliability.         Such

information included that:

     1)   Orlando had known the informants for more than five
          years, knew their true names and their home addresses,

     2)   CI-1 and CI-2 were unaware of each other’s proffered
          information but that information was consistent,

     3)   CI-1 and CI-2 had provided information to Orlando for
          the preceding two years,

     4)   State police investigations that had resulted from
          information obtained from CI-1 and CI-2 had confirmed
          their information to be truthful and reliable,

     5)   CI-1 allowed Orlando and Russolillo secretly to observe
          meetings between him and various bookmakers,

     6)   CI-2 provided critical information that led to wiretap
          investigations, subsequent seizure of gambling proceeds
          and conviction of various defendants for gambling
          offenses in three different cases and

     7)   CI-1 and CI-2 feared for their safety if their
          cooperation was exposed and the State Police thought it
          imperative to omit details that might tend to reveal
          their identities.

This information, combined with the fact that the state police

corroborated some that the informants provided, was more than

enough to establish the reliability and credibility of the

informants.    See United States v. Greenburg, 410 F.3d 63, 67 (1st

Cir. 2005).

          5.     The Authority of the State Court with Respect to
                 Cellular Telephones

     The Defendants’ final argument that the fruits of the

wiretap should be suppressed is based upon their claim that the

state court is not authorized to issue an order permitting the

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interception of communications over cellular telephones.

     The Defendants assert that the pre-1986 version of Title

III, upon which Section 99 is based, did not authorize

interception of cellular phones and point out that even the

Massachusetts House of Representatives has noted that Section 99

is limited as evidenced by a 2007 bill which would update the

definition of “wire communications” to replicate that of the

amended Title III.

     The Court finds the Defendants’ arguments unpersuasive.           The

SJC has held that the Massachusetts courts construe the

Massachusetts statute in accordance with the construction given

the federal statute by the federal courts.       O’Sullivan v. NYNEX

Corp., 426 Mass. 261, 264 n.5 (1997).      In fact, Massachusetts

courts have previously interpreted the state wiretap statute to

have incorporated an amendment to the federal wiretap statute.

See Dillon v. MBTA, 49 Mass. App. Ct. 309, 314-16 (2000).         The

Massachusetts Superior Courts have repeatedly held that the

Massachusetts wiretap statute empowers state courts in

Massachusetts to authorize the interception of cellular phone

conversations.   See, e.g., Commonwealth v. Alleyne, 2007 WL

4997621, at *2 (Mass. Super. Nov. 1, 2007).       This Court will

follow their lead until a higher court holds otherwise.

     Because this Court finds that the wiretap warrants were not

unlawful in any way, the Defendants’ motion to suppress the


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fruits of the wiretap will be denied.



III. Motions to Suppress

     Defendants Puopolo and Gianelli have also filed motions to

suppress the fruits of searches of their residences and, in

Puopolo’s case, the RBA.

     A.   Relevant Factual Background

     The facts relevant to their motions are as follows:

          1.   The Warrant for Gianelli’s Home

     On March 5, 2004, Massachusetts State Trooper Pasquale

Russolillo (“Russolillo”) sought and obtained search warrants for

Gianelli’s home (located at 420 Main Street, Lynnfield),

automobile and person.     The warrants were executed that same day.

     The warrant authorized State Police to seize a wide variety

of items including books, papers, documents, receipts, bills and

notations reflecting financial transactions, computers and

related hardware, and other paraphernalia used to facilitate the

unlawful registration of bets.     In support of his application,

Russolillo submitted a 49-page affidavit relating to Gianelli and

three of his co-defendants.

     To establish probable cause for a warrant for Gianelli’s

residence, Russolillo cited several telephone calls which had

been intercepted during the execution of a wiretap.        Those

intercepted calls indicated that Gianelli was involved in an


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unlawful gaming organization.     Russolillo also stated general

information and his opinions with respect to the practices of

persons involved in the operation of bookmaking and gaming

offices.   He explained, among other things, that 1) those

involved in gaming often hide their records and money on their

person, in their automobiles and in other secure areas, 2) hidden

areas of residences are thought to provide a degree of security

for records and money and 3) records reflecting a person’s

financial transactions and condition are typically found in a

person’s residence.

     Russolillo also summarized the intercepted calls.         He noted

that conversations intercepted over Gianelli’s cellular phone

revealed that Gianelli regularly instructed Albertelli and

Ramasci to come to his residence for paying or collecting monies

due or owed on bets registered with the Gianelli Group.

Russolillo further declared that 1) surveillance confirmed that

those two individuals went to Gianelli’s home, 2) physical and

electronic surveillance revealed that on several occasions

Gianelli reviewed the gains and losses incurred by the gaming

organization at his home and 3) conversations between Gianelli

and Albertelli indicated that Albertelli delivered money derived

from gaming to Gianelli’s wife at their home.

     Russolillo made additional allegations based on specific

activities seen or calls intercepted.      In late November, 2003,


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Gianelli and Ramasci made arrangements over the telephone for

Ramasci to deliver gaming material and money to the Gianelli

residence.    A police officer later observed Ramasci arrive by car

at the Gianelli home and lean into his trunk.       At the end of

January, 2004, an intercepted call recorded Gianelli and Ramasci

discussing gaming business that Ramasci had to attend to that day

and setting a time to meet at Gianelli’s home thereafter.         In

March, 2004, in an intercepted call, Gianelli told Albertelli

that he was home and then stated that he would review “the

sheets” that night.     Other intercepted calls involving Gianelli

in March, 2004 provided evidence that he continued to be involved

in gaming activities.

          2.     The Warrant for Puopolo’s Home and the RBA

     On March 3, 2005, Russolillo submitted an affidavit in

support of three applications for search warrants for five

different locations including Puopolo’s residence (located at 350

Revere Beach Boulevard, Apartment P2-120, Revere) and the RBA.

The affidavit explicitly referenced and incorporated additional

affidavits written in support of an application and renewal

application for a wiretap.    The search warrants were issued by

the Massachusetts Superior Court the same day and executed five

days later.    Law enforcement officials seized no items from

Puopolo’s person and seized very little from his residence but

they did seize assorted items from the RBA.


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     In the application for a warrant for Puopolo’s residence,

Russolillo opines, as he did in the affidavit in support of the

application with respect to Gianelli’s residence, that persons

involved in bookmaking or gaming offenses often store records of

the crimes in their homes, among other places.        With respect to

case specific information, Russolillo stated that several

completed calls were intercepted to or from the telephone in

Puopolo’s residence and the majority of those calls included

gaming related matters.    Russolillo details five telephone calls

intercepted between December 30, 2004 and February 21, 2005 in

which Puopolo talks about gaming matters while in his home.

Russolillo also states that Puopolo has used the RBA telephone

number to discuss matters related to gaming and that intercepted

conversations included Puopolo directing people to meet him at

the RBA to pay or collect money.     The intercepted calls also

revealed that Puopolo is responsible for paying customers who win

bets on allegedly illegal poker machines within the RBA.

     B.   Analysis

     In their motions to suppress, Gianelli and Puopolo argue

that the warrants were invalid because they lacked evidence of

probable cause and particularity.

          1.   Probable Cause for the Warrants

     Gianelli and Puopolo first contend that there was no

probable cause to search their homes because there was no


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probable cause to believe that evidence of gaming would be found

there.

                a.   Legal Standard

     A warrant application must demonstrate probable cause to

believe that 1) a crime has been committed (the commission

element) and 2) particular evidence of the offense will be found

at the place to be searched (the nexus element).        United States

v. Ribeiro, 397 F.3d 43, 48 (1st Cir. 2005).       In determining

whether the nexus element is satisfied, the Court must make

     a practical, common-sense decision whether, given all
     the circumstances set forth in the affidavit before
     him,...there is a fair probability that contraband or
     evidence of a crime will be found in a particular
     place.

Id. at 48-49 (quoting Illinois v. Gates, 462 U.S. 213, 238

(1983)).   The court must consider

     whether the facts presented in the affidavit would
     “warrant a man of reasonable caution” to believe that
     evidence of crime will be found.

United States v. Feliz, 182 F.3d 82, 87 (1st Cir. 1999)(quoting

Texas v. Brown, 460 U.S. 730, 742 (1983)).       Probable cause to

believe one has committed a crime is not enough necessarily to

search a suspect’s residence.      Feliz, 192 F.3d at 88.     The nexus

element can be inferred, however, from the kind of crime, the

nature of the items sought, the extent of the opportunity for

concealment and normal inferences as to where a criminal would

hide evidence of a crime.    Id.    The nexus element also has a


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temporal component in that there must be a fair probability that

evidence or contraband will be discovered at the place of the

search at about the time the search warrant would issue.         United

States v. Zayas-Diaz, 95 F.3d 105, 113 (1st Cir. 1996).         “In a

doubtful or marginal case, the court defers to the issuing

[judge’s] determination of probable cause.”       United States v.

Barnard, 299 F.3d 90, 93 (1st Cir. 2002).

               b.    Analysis of the Warrant Application for
                     Gianelli’s Residence

      To support his argument that the warrant application did

not satisfy the nexus element, Gianelli contends that 1)

Russolillo’s allegations regarding Gianelli’s dealings with a co-

defendant in November, 2003 do not establish probable cause

because they occurred three months prior to the execution of the

warrant, 2) the intercepted calls from early 2004 do not create

probable cause because they did not connect Gianelli’s home to

his gaming activities, 3) Russolillo’s summaries of conversations

are not supported by specific information about conversations and

they have no temporal reference, 4) Russolillo refers to less

than a handful of calls relating to Gianelli’s home and 5) each

of the intercepted conversations specifically cited by Russolillo

are over Gianelli’s cellular telephone and therefore he could

have been talking from anywhere.

     Gianelli may be correct that each allegation of Russolillo,

when taken individually, is insufficient to establish probable

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cause, but when the evidence presented in the affidavit is

considered together, it satisfies the nexus element.        Law

enforcement had information that 1) Gianelli met with co-

defendants at his home on matters relating to gaming in November,

2003, 2) Gianelli continued to have telephone conversations and

engage in activities relating to his gaming organization up until

a few days before the execution of the search warrant and 3)

bookmakers often keep records and money in their residences.

Russolillo’s opinion, gleaned from experience in gaming

investigations, that bookmakers keep records at their residences

was corroborated in this case by the conversations and activities

of Gianelli and his co-defendants.      When law enforcement

continued to observe activities and intercept calls suggesting

Gianelli’s involvement in gaming activities, there was a fair

probability that evidence of Gianelli’s gaming activities would

be found in his home.   Consequently, the evidence obtained as a

result of the search of Gianelli’s residence will not be

suppressed for lack of probable cause.

               c.    Analysis of The Warrant Application for
                     Puopolo’s Residence

     Puopolo argues in his motion to suppress, as did Gianelli,

that the warrant application did not satisfy the nexus element.

In support of that contention, he notes that the only evidence

connecting Puopolo’s residence to alleged contraband are the

“general opinions” of Russolillo as well as five intercepted

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telephone conversations none of which indicated any evidence of

gaming in Puopolo’s home.    He points to facts available to

Russolillo suggesting the absence of probable cause, including:

     1)   Puopolo was on notice of the ability and intent of law
          enforcement to search residences of targets because
          police had earlier searched the homes of other
          defendants,

     2)   Russolillo had a pre-conceived opinion that bookmakers
          attempt to conceal from law enforcement those assets
          which are used to facilitate their gaming activities,

     3)   the intercepted telephone conversations do not provide
          the requisite nexus to Puopolo’s home and

     4)   there were no assertions in the search warrant
          affidavit that law enforcement officials ever observed
          Puopolo conducting gaming or collection activities in
          his home.

     Puopolo’s arguments are unpersuasive.       The application

affidavit, as well as the affidavits incorporated by reference,

establish probable cause that evidence of a crime would be found

in Puopolo’s residence.    During intercepted calls, Puopolo

discussed with at least two other co-defendants money won, lost,

due and owed to him as well as the results in sporting events

that would be beneficial for him and his gaming organization.

Those conversations, conducted over Puopolo’s home telephone

while he was at his residence, indicate by a fair probability

that he had information with respect to betting in his home.

Moreover, although probable cause cannot rest entirely on a law

officer’s opinions based on his experience and training,

Russolillo’s statement that bookmakers generally keep records in

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their home further supports a finding of probable cause in this

case.

     Despite Puopolo’s argument to the contrary, his knowledge

that residences of others had been searched and that bookmakers

generally like to conceal evidence of gaming does not eliminate

probable cause that evidence would be found in his residence,

especially in this case where, after the earlier searches

occurred, law enforcement officers continued to observe and hear

Puopolo engaging in conversations relating to gaming activities.

Moreover, the fact that law enforcement officials did not observe

evidence of gaming activity at Puopolo’s home prior to the search

does not disprove the existence of probable cause.        Puopolo’s

storage of records and/or cash in the house would be easy to

conceal from law enforcement engaged in surveillance.

            2.     The Particularity of the Warrant

     Puopolo next contends (and Gianelli adopts his argument)

that the warrants violated the Fourth Amendment particularity

requirement.

                   a.   Legal Standard

     In order for a warrant to be reasonable and thereby conform

with the dictates of the Fourth Amendment, it must state with

particularity the items to be seized and the place to be

searched.    United States v. Vega-Figueroa, 234 F.3d 744, 756 (1st

Cir. 2000).      The purpose of the particularity requirement is to


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prevent wide-ranging general searches by the police.        Id.   If a

warrant fails to conform to the particularity requirement of the

Fourth Amendment, it is generally unconstitutional.        Groh v.

Ramirez, 540 U.S. 551, 557 (2004).

                  b.   Analysis

     Puopolo argues that the warrants authorizing a search of his

residence and the RBA “authorize[]...wide-ranging and

indiscriminate rummaging for anything and everything”.         He argues

that they lack particularity because they 1) fail to specify the

criminal offenses under investigation, 2) call for the seizure of

any and all financial records without temporal or subject

limitation and 3) permit the seizure of computers and related

hardware despite the lack of probable cause that Puopolo used any

computers.

     With respect to Puopolo’s first concern, the search warrants

incorporated by reference the underlying search warrant affidavit

which stated the offense under investigation.       See Groh, 540 U.S.

at 557-58 (holding that a warrant may cross-reference other

documents).   Moreover, the search warrants repeatedly described

the substance of the offense by stating, for example, that the

items to be seized should be those items “evidencing the unlawful

placement, receipt and registration of bets on the outcome of

sports events”.

     With respect to Puopolo’s second concern, as the government


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points out, the fungible nature of money makes the seizure of a

wide-range of financial records appropriate.       Money made in

illegal activities can easily be commingled with money made from

legal activities and, therefore, tracing ill-gotten money

requires access to all kinds of financial information and

documentation.

     Finally, with respect to Puopolo’s third concern, the

seizure of computers was limited to those computers used to

facilitate the unlawful registration of bets.       That limitation

narrowed the items subject to seizure, eliminating any Fourth

Amendment difficulties with respect to the seizure of computers.

Because the warrants satisfied the particularity requirement of

the Fourth Amendment, defendants’ motions to suppress the fruits

of the search of the residences of Gianelli and Puopolo, as well

as the search of the RBA, will be denied.

          3.     The Good Faith Exception

     Even if the warrants were invalid, suppression is not

appropriate where, as here, the officers’ good faith reliance on

the warrants was reasonable.     United States v. Leon, 468 U.S.

897, 922 (1984).   Supposing that the warrants did not adequately

state probable cause, the fruits of the search would still be

admissible because the warrants were not “so lacking in indicia

of probable cause as to render official belief in its existence

entirely unreasonable.”    See id. at 923. Nor did any possible


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lack of particularity render the warrant “so facially

deficient...that the executing officers cannot reasonably presume

it to be valid.”   See id.   Consequently, the good faith exception

provides another basis on which to deny the motions of Puopolo

and Gianelli to suppress.

                                 ORDER

     In accordance with the foregoing, Defendants’ Motion to

Suppress the Fruits of a Wiretap (Docket No. 458), Puopolo’s

Motion to Suppress Fruits (Docket No. 462) and Gianelli’s Motion

to Supress Fruits (Docket No. 470) are DENIED.



So ordered.

                                  /s/ Nathaniel M. Gorton
                                 Nathaniel M. Gorton
                                 United States District Judge
Dated October 8, 2008




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